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                                                                             110TH CONGRESS                                                                                          REPT. 110–860
                                                                                            " HOUSE OF REPRESENTATIVES                                                           !
                                                                                2d Session                                                                                              Part 1




                                                                                    RAILROAD ANTITRUST ENFORCEMENT ACT OF 2008




                                                                                                            SEPTEMBER 18, 2008.—Ordered to be printed




                                                                                            Mr. CONYERS, from the Committee on the Judiciary,
                                                                                                        submitted the following


                                                                                                                              R E P O R T
                                                                                                                           [To accompany H.R. 1650]

                                                                                                [Including cost estimate of the Congressional Budget Office]

                                                                               The Committee on the Judiciary, to whom was referred the bill
                                                                             (H.R. 1650) to amend the Federal antitrust laws to provide ex-
                                                                             panded coverage and to eliminate exemptions from such laws that
                                                                             are contrary to the public interest with respect to railroads, having
                                                                             considered the same, report favorably thereon with an amendment
                                                                             and recommend that the bill as amended do pass.
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                                                                                                                              THE AMENDMENT
                                                                                  The amendment is as follows:
                                                                                  Strike all after the enacting clause and insert the following:
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                                                                                   69–006




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                                                                                                                                 2
                                                                             SECTION 1. SHORT TITLE.
                                                                                  This Act may be cited as the ‘‘Railroad Antitrust Enforcement Act of 2008’’.
                                                                             SEC. 2. APPLICATION OF THE ANTITRUST LAWS TO RAIL COMMON CARRIERS.
                                                                                  (a) APPLICATION OF THE ANTITRUST LAWS.—The antitrust laws shall apply to a
                                                                             common carrier by railroad that is subject to the jurisdiction of the Surface Trans-
                                                                             portation Board under subtitle IV of title 49, United States Code, without regard
                                                                             to whether such common carrier filed a rate or whether a complaint challenging a
                                                                             rate is filed.
                                                                                  (b) DEFINITION.—The term ‘‘antitrust laws’’ has the meaning given it in sub-
                                                                             section (a) of the 1st section of the Clayton Act (15 U.S.C. 12(a)), but includes sec-
                                                                             tion 5 of the Federal Trade Commission Act to the extent such section 5 applies to
                                                                             unfair methods of competition
                                                                             SEC. 3. MERGERS AND ACQUISITIONS OF RAILROADS.
                                                                                 The last undesignated paragraph of section 7 of the Clayton Act (15 U.S.C. 18)
                                                                             is amended by inserting ‘‘(excluding transactions described in section 11321 of title
                                                                             49 of the United States Code)’’ after ‘‘Surface Transportation Board’’.
                                                                             SEC. 4. ANTITRUST ENFORCEMENT AUTHORITY.
                                                                                  Section 11(a) of the Clayton Act (15 U.S.C. 21(a)) is amended by inserting ‘‘(ex-
                                                                             cluding agreements described in section 10706 of such title and transactions de-
                                                                             scribed in section 11321 of such title)’’ after ‘‘Code’’.
                                                                             SEC. 5. INJUNCTIONS AGAINST RAILROAD COMMON CARRIERS.
                                                                                  The proviso in section 16 of the Clayton Act (15 U.S.C. 26) is amended by in-
                                                                             serting ‘‘(excluding a common carrier by railroad)’’ after ‘‘Board’’.
                                                                             SEC. 6. REMOVAL OF PRIMARY JURISDICTION AS LIMITATION.
                                                                                  The Clayton Act (15 U.S.C. 12 et seq.) is amended by adding at the end thereof
                                                                             the following:
                                                                                  ‘‘SEC. 29. In any civil action against a common carrier railroad under section
                                                                             4, 4A, 4C, 15, or 16, the district court shall not be required to defer to the jurisdic-
                                                                             tion of the Surface Transportation Board.’’.
                                                                             SEC. 7. UNFAIR METHODS OF COMPETITION.
                                                                                  Section 5(a)(2) of the Federal Trade Commission Act (15 U.S.C. 45(a)(2)) is
                                                                             amended by adding at the end the following:
                                                                             ‘‘For purposes of this paragraph with respect to unfair methods of competition, the
                                                                             term ‘common carrier’ excludes a common carrier by railroad that is subject to juris-
                                                                             diction of the Surface Transportation Board under subtitle IV of title 49 of the
                                                                             United States Code.’’.
                                                                             SEC. 8. TERMINATION OF EXEMPTIONS IN TITLE 49.
                                                                                  (a) IN GENERAL.—Section 10706 of title 49, United States Code, is amended—
                                                                                         (1) in subsection (a)—
                                                                                               (A) in the 3d sentence of paragraph (2)(A) by striking ‘‘, and the Sher-
                                                                                         man Act (15 U.S.C. 1 et seq.),’’ and all that follows through ‘‘or carrying
                                                                                         out the agreement’’,
                                                                                               (B) in paragraph (4)—
                                                                                                    (i) by striking the 2d sentence, and
                                                                                                    (ii) in the 3d sentence by striking ‘‘However, the’’ and inserting
                                                                                               ‘‘The’’, and
                                                                                               (C) in paragraph (5)(A) by striking ‘‘, and the antitrust laws set forth
                                                                                         in paragraph (2) of this subsection do not apply to parties and other persons
                                                                                         with respect to making or carrying out the agreement’’,
                                                                                         (2) in subsection (d) by striking the last sentence, and
                                                                                         (3) by striking subsection (e) and inserting the following:
                                                                                  ‘‘(e) Nothing in this section exempts a proposed agreement described in sub-
                                                                             section (a) from the application of the antitrust laws (as defined in subsection (a)
                                                                             of the 1st section of the Clayton Act, but including section 5 of the Federal Trade
                                                                             Commission Act to the extent such section 5 applies to unfair methods of competi-
                                                                             tion).
                                                                                  ‘‘(f) In reviewing any proposed agreement described in subsection (a), the Board
                                                                             shall take into account, among any other considerations, the impact of the proposed
                                                                             agreement on shippers, consumers, and affected communities. The Board shall make
                                                                             findings regarding such impact, which shall be—
                                                                                         ‘‘(1) made part of the administrative record;
                                                                                         ‘‘(2) submitted to any other reviewing agency for consideration in making
                                                                                  its determination; and
                                                                                         ‘‘(3) available in any judicial review of the Board’s decision regarding such
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                                                                                  agreement.’’.




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                                                                                  (b) COMBINATIONS.—Section 11321 of title 49, United States Code, is amended—
                                                                                        (1) in subsection (a)—
                                                                                             (A) by striking ‘‘The authority’’ and inserting ‘‘Except as provided in
                                                                                        sections 4, 4A, 4C, 15, and 16 of the Clayton Act, the authority’’; and
                                                                                             (B) in the 3d sentence by striking ‘‘is exempt from the antitrust laws
                                                                                        and from all other law,’’ and inserting ‘‘is exempt from all other law (except
                                                                                        the laws referred to in subsection (c)),’’, and
                                                                                        (2) by adding at the end the following:
                                                                                  ‘‘(c) Nothing in this subchapter exempts a transaction described in subsection
                                                                             (a) from the application of the antitrust laws (as defined in subsection (a) of the 1st
                                                                             section of the Clayton Act, but including section 5 of the Federal Trade Commission
                                                                             Act to the extent such section 5 applies to unfair methods of competition). The pre-
                                                                             ceding sentence shall not apply to any transaction relating to the pooling of railroad
                                                                             cars approved by the Surface Transportation Board or its predecessor agency pursu-
                                                                             ant to section 11322.
                                                                                  ‘‘(d) In reviewing any transaction described in subsection (a), the Board shall
                                                                             take into account, among any other considerations, the impact of the transaction on
                                                                             shippers and affected communities.’’.
                                                                                  (c) CONFORMING AMENDMENTS.—
                                                                                        (1) HEADING.—The heading for section 10706 of title 49, United States
                                                                                  Code, is amended to read as follows: ‘‘Rate agreements’’.
                                                                                        (2) ANALYSIS OF SECTIONS.—The analysis of sections of chapter 107 of such
                                                                                  title is amended by striking the item relating to section 10706 and insert the
                                                                                  following:
                                                                             ‘‘10706. Rate agreements.’’.
                                                                             SEC. 9. EFFECTIVE DATE.
                                                                                  (a) IN GENERAL.—Except as provided in subsection (b), this Act and the amend-
                                                                             ments made by this Act shall take effect on the date of enactment of this Act.
                                                                                  (b) LIMITATION.—A civil action under section 4, 4A, 4C, 15, or 16 of the Clayton
                                                                             Act, or a complaint under section 5 of the Federal Trade Commission Act (15 U.S.C.
                                                                             45) to the extent such section 5 applies to unfair methods of competition, may not
                                                                             be filed with respect to any conduct or activity that—
                                                                                       (1) occurs before the expiration of the 180-day period beginning on the date
                                                                                  of enactment of this Act; and
                                                                                       (2) was exempted from the antitrust laws (as defined in subsection (a) of
                                                                                  the 1st section of the Clayton Act (15 U.S.C. 12(a)), but including section 5 of
                                                                                  the Federal Trade Commission Act (15 U.S.C. 45) to the extent such section 5
                                                                                  applies to unfair methods of competition) by an order of the Interstate Com-
                                                                                  merce Commission or the Surface Transportation Board issued before the date
                                                                                  of the enactment of this Act and pursuant to law.

                                                                                                                PURPOSE AND SUMMARY
                                                                                H.R. 1650, the Railroad Antitrust Enforcement Act of 2008, will
                                                                             eliminate certain carve-outs from the Federal antitrust laws en-
                                                                             joyed by railroad common carriers, thereby subjecting railroad in-
                                                                             dustry practices to the pro-competitive influence of the antitrust
                                                                             laws. The carve-outs are a holdover from a bygone period in which
                                                                             railroads were subject to extensive regulation. In the modern envi-
                                                                             ronment of deregulation that commenced more than thirty years
                                                                             ago with the passage of the Railroad Revitalization and Regulatory
                                                                             Reform (4R) Act 1 and the Staggers Rail Act,2 these carve-outs
                                                                             work primarily to subvert the free-market dynamics that would
                                                                             otherwise prevail in the industry.
                                                                                The bill will extend to the railroad industry remedies and en-
                                                                             forcement mechanisms generally applicable to other industries
                                                                             under the Federal antitrust laws. Those harmed by antitrust viola-
                                                                             tions perpetrated by a rail carrier will now have the full range of
                                                                             remedies available under the Federal antitrust laws. The Federal
                                                                             Trade Commission (FTC) and the Department of Justice (DOJ) (col-
                                                                                  1 Pub.L. No. 94–210 (1976).
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                                                                                  2 Pub.L. No. 96–448 (1980).




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                                                                             lectively, the Agencies) and State attorneys general acting in
                                                                             parens patriae on behalf of their citizens will be able to enforce the
                                                                             Federal antitrust laws with respect to anticompetitive business
                                                                             practices and mergers and acquisitions in the railroad industry.
                                                                                The bill is prospective in effect. Any merger or acquisition con-
                                                                             summated prior to the date of the bill’s enactment, or conduct that
                                                                             will have occurred prior to that date and that was immunized
                                                                             under an order by the Surface Transportation Board (STB) or its
                                                                             predecessor, the Interstate Commerce Commission, will not become
                                                                             subject to antitrust action as a result of this bill. Any merger or
                                                                             acquisition or conduct taking place after passage of the bill, how-
                                                                             ever, will be subject to the bill’s provisions.
                                                                                There is an additional 180-day grace period for conduct that
                                                                             began pursuant to immunity under the previous law and that is
                                                                             continuing at the date of enactment. After the expiration of that
                                                                             180-day period, however, that conduct will also become subject to
                                                                             the new law.
                                                                                Except with respect to conferring antitrust immunity, the bill
                                                                             fully preserves the STB’s regulatory authority. With respect to re-
                                                                             viewing railroad mergers and acquisitions, the STB will retain its
                                                                             public interest authority alongside the Agencies’ antitrust author-
                                                                             ity. The two reviews will be conducted concurrently yet separately.
                                                                                               BACKGROUND AND NEED FOR THE LEGISLATION
                                                                               By eliminating Federal antitrust exemptions from the railroad
                                                                             industry, H.R. 1650 would subject railroad industry practices to ap-
                                                                             propriate antitrust enforcement. This completes a process begun
                                                                             nearly three decades ago with the procompetitive deregulation of
                                                                             the railroad industry. Absent the bill’s corrective measures, the
                                                                             railroad industry can only partially achieve the pro-competitive
                                                                             benefits of deregulation.
                                                                                                                      BACKGROUND

                                                                               The railroad industry is in its third decade of deregulation after
                                                                             a long history as a regulated industry. In the 1920’s, while the in-
                                                                             dustry was still heavily regulated, Congress granted the industry
                                                                             a number of antitrust immunities. Thirty years ago, the industry
                                                                             was largely deregulated following enactment of the 4R Act and the
                                                                             Staggers Act, which provided carriers with greater flexibility in set-
                                                                             ting their own rates. However, many of the industry’s antitrust ex-
                                                                             emptions remained in place.
                                                                               As a result, the Agencies are limited in their ability to enforce
                                                                             the Federal antitrust laws in the railroad industry. STB-approved
                                                                             transactions under 49 U.S.C. § 11321–11328 (consolidations, merg-
                                                                             ers, acquisitions, some leases, trackage rights, pooling arrange-
                                                                             ments, and agreements to divide traffic) are exempt from antitrust
                                                                             enforcement. Certain rate- and charge-related agreements ap-
                                                                             proved by the STB under 49 U.S.C. § 10706 are similarly exempt.
                                                                               Under current law, the STB has the exclusive authority to ap-
                                                                             prove a railroad merger or acquisition (including other forms of
                                                                             consolidation or market divisions that would alter the competitive
                                                                             landscape). The Board evaluates mergers and acquisitions under a
                                                                             broad ‘‘public interest’’ standard, which differs markedly from the
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                                                                             standard used by the Agencies in performing an antitrust review.




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                                                                             Because common carrier mergers subject to the STB’s jurisdiction
                                                                             are expressly exempt from the FTC Act, the FTC has no authority
                                                                             to review them. And, DOJ’s role is limited to submitting advisory
                                                                             recommendations to the STB for its consideration, which the STB
                                                                             is free to reject.
                                                                                Private parties are similarly precluded from relying on the anti-
                                                                             trust laws to protect themselves against or seek remedies for anti-
                                                                             competitive harm caused by the railroads. Under Section 16 of the
                                                                             Clayton Act,3 injunctive relief against a common carrier subject to
                                                                             the STB’s jurisdiction is available only in a suit filed by the Fed-
                                                                             eral Government. In addition, the so-called Keogh Doctrine 4 pre-
                                                                             cludes private parties from recovering damages.
                                                                                Businesses that ship by rail argue that the antitrust exemptions
                                                                             have enabled railroads to engage in a number of anticompetitive
                                                                             practices. Some shippers claim that the rates charged when the
                                                                             shippers have no competing rail options (i.e., when they are ‘‘cap-
                                                                             tive shippers’’) are unfairly inflated, and that the rate appeal proc-
                                                                             ess at the STB favors the rail carriers. In addition, certain prac-
                                                                             tices by the rail carriers—such as entering into contracts with oper-
                                                                             ators of connecting short line tracks that unduly punish them for
                                                                             doing business with competing carriers (also known as ‘‘paper bar-
                                                                             riers’’) and refusals to segment long-haul transportation quotes so
                                                                             as to permit interconnecting rail carriers to compete on some por-
                                                                             tions (a.k.a. ‘‘bottlenecks’’)—may be resulting in anticompetitive
                                                                             rates that are ultimately passed on to consumers in the form of
                                                                             higher prices. In fact, in a September 2004 letter, the DOJ indi-
                                                                             cated that these practices could very well violate Federal antitrust
                                                                             laws.5
                                                                                                                 ANTITRUST ANALYSIS

                                                                               This bill will enhance competition by enabling the Agencies to
                                                                             enforce the antitrust laws in the railroad industry and by providing
                                                                             private parties with the full panoply of relief and remedies avail-
                                                                             able under the antitrust laws.
                                                                             Empowering Federal Agencies to Enforce Antitrust Laws
                                                                               Enacement of this legislation would enable the Agencies to en-
                                                                             force the antitrust laws in the railroad industry. Under current
                                                                             law, DOJ, the agency traditionally charged with antitrust oversight
                                                                             of railroad mergers and acquisitions, can offer little more than a
                                                                             defanged advisory evaluation of railroad industry mergers and ac-
                                                                             quisitions. DOJ lacks antitrust enforcement authority over railroad
                                                                             mergers and acquisitions because 49 U.S.C. § 11321 provides that
                                                                             a ‘‘rail carrier, corporation, or person participating in [an STB-] ap-
                                                                             proved or exempted transaction is exempt from the antitrust laws
                                                                             and from all other law including State and municipal law, as nec-
                                                                             essary to let that rail carrier, corporation, or person carry out the
                                                                             transaction . . .’’
                                                                               The STB evaluates rail carrier mergers and acquisitions under a
                                                                             broad public interest standard outlined in 49 U.S.C. § 11324. This
                                                                             public interest standard is broader and more diffuse than the anti-
                                                                                  3 15 U.S.C. § 126.
                                                                                  4 Keogh v. Chicago & Northwestern Railway, 260 U.S. 152 (1922).
                                                                               5 Letter from Assistant Attorney General William E. Moschella to Rep. F. James Sensen-
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                                                                             brenner, Jr. (September 27, 2004).




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                                                                             trust standard, which is focused on preventing mergers and acqui-
                                                                             sitions that substantially lessen competition, resulting in restric-
                                                                             tions on output or increases in price.
                                                                                Although section 11324(d)(2) requires the STB, in making its de-
                                                                             termination regarding a proposed rail carrier merger or acquisition,
                                                                             to ‘‘accord substantial weight to any recommendations of the Attor-
                                                                             ney General,’’ the STB remains free to disregard any such rec-
                                                                             ommendation. The STB’s 1996 decision approving the Union Pa-
                                                                             cific/Southern Pacific merger over DOJ’s vigorous objections, subse-
                                                                             quently affirmed on appeal by the Eighth Circuit,6 starkly dem-
                                                                             onstrates the limits of DOJ’s current role under the antitrust laws.
                                                                             The STB ruled that its statutory mandate ‘‘sharply contrasts with
                                                                             the approach to mergers taken by the DOJ and the Federal Trade
                                                                             Commission. The policies embodied in the antitrust laws provide
                                                                             guidance, but are not determinative. . . . Thus the [STB] can . . .
                                                                             approve transactions even if they otherwise would violate the anti-
                                                                             trust laws.’’ 7
                                                                                Passage of the bill would subject railroads to the same kind of
                                                                             concurrent oversight by both a Federal enforcement agency and a
                                                                             regulatory body found in other partially-regulated industries, in-
                                                                             cluding electricity transmission in interstate commerce, the oper-
                                                                             ation of liquid natural gas import terminals, the transportation of
                                                                             natural gas by interstate pipeline, and the transportation of oil by
                                                                             interstate common carrier pipelines. While the STB would continue
                                                                             to maintain oversight over a variety of other operational issues re-
                                                                             lated to the operation of the railroad industry, antitrust enforce-
                                                                             ment by the Agencies as warranted would operate alongside the
                                                                             regulatory authority.
                                                                             Enhanced Ability of Shippers to Challenge Anticompetitive Rail
                                                                                  Rates
                                                                               So-called ‘‘captive’’ shippers (rail carrier customers with a single
                                                                             carrier option for part of, or all of, a shipping route they depend
                                                                             on) are frequently charged higher rates due to a lack of competition
                                                                             among rail carriers and the ability of carriers to charge differential
                                                                             pricing under the Staggers Act. Some of these rating practices
                                                                             might violate the antitrust laws; under current law, however, nei-
                                                                             ther shippers nor the Agencies have any effective recourse under
                                                                             the antitrust laws. The bill would give shippers additional avenues
                                                                             by which to challenge anticompetitive rail practices.
                                                                               According to an October 2006 U.S. Government Accountability
                                                                             Office report, the volume of traffic traveling at significantly non-
                                                                             competitive rates (defined as more than 300% of variable cost) has
                                                                             increased since 1985.8 The rates paid by these captive shippers are,
                                                                             on average, 20.9% higher, costing captive shippers an estimated ex-
                                                                             cess of $1.3 billion on an annual basis.9
                                                                               6 Union Pac. Corp., 1 S.T.B. 233, 1996 WL 467636 (Aug. 12, 1996), petition for review denied,
                                                                             Western Coal Traffic League v. STB, 169 F. 3d 775 (1999), opinion clarified, Union Pac. Corp.,
                                                                             2002 WL 335181 (Feb. 28, 2002).
                                                                               7 Union Pac. Corp., 1 S.T.B. at 86–88.
                                                                               8 October 2006 United States Government Accountability Office Report to Congressional Re-
                                                                             questers, ‘‘Freight Railroads: Industry Health Has Improved, but Concerns about Competition
                                                                             and Capacity Should Be Addressed,’’ available at http://www.gao.gov/new.items/d0794.pdf. Be-
                                                                             cause the total number of rail shippers has increased over the past twenty years, the percentage
                                                                             represented by captive shippers has decreased, but not their actual number.
                                                                               9 The Status of Economic Railroad Regulation: Hearing before the H. Comm. on Transportation
                                                                             and Infrastructure, Subcommittee on Railroads, 108th Cong. 1 (2004) (Statement of Dr. Curtis
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                                                                             Grimm, Professor of Supply Chain and Strategy, University of Maryland).




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                                                                             Subjecting ‘‘Bottlenecks’’ to Antitrust Scrutiny
                                                                                Enactment of this legislation would subject so-called ‘‘bottle-
                                                                             necks’’ to appropriate antitrust scrutiny. Bottlenecks are shipping
                                                                             situations in which customers have only a single rail line transpor-
                                                                             tation option to a point of interconnection with other carriers. Of-
                                                                             tentimes, the rail carrier operating the bottleneck will quote the
                                                                             shipper a single quote for the entire, or ‘‘long haul,’’ route, and will
                                                                             refuse to offer the alternative of a separate price for the single-car-
                                                                             rier portion of the route. This practice, which was upheld by the
                                                                             STB in a 1996 decision and affirmed by the Eighth Circuit,10 de-
                                                                             nies captive shippers the benefits of competition on the other por-
                                                                             tions of the route where they are not otherwise captive.
                                                                                There is no justifiable logistical or practical reason preventing
                                                                             rail carriers controlling bottleneck situations from offering com-
                                                                             partmentalized rates other than a calculated business decision—
                                                                             legal under current law—to use their monopoly power in the seg-
                                                                             ment they control to extract the maximum profit possible from
                                                                             shippers who must depend on that segment. The higher cost borne
                                                                             by the shippers ultimately translates into higher costs for con-
                                                                             sumers for the goods being transported.
                                                                                H.R. 1650 would subject bottleneck pricing to the antitrust laws.
                                                                             In a 2004 letter to then-Chairman Sensenbrenner, the Department
                                                                             of Justice stated that ‘‘[i]f [bottlenecking] were subject to the anti-
                                                                             trust laws, it could be evaluated as a refusal to deal in possible vio-
                                                                             lation of Section 2 of the Sherman Act, or as a tying arrangement
                                                                             in possible violation of Section 1 of the Sherman Act.’’ 11
                                                                             Subjecting ‘‘Paper Barriers’’ to Antitrust Scrutiny
                                                                                 Enactment of this legislation would subject so-called ‘‘paper bar-
                                                                             riers’’ to appropriate antitrust scrutiny. ‘‘Paper barriers,’’ also
                                                                             known as ‘‘interchange commitments,’’ are a range of contractual
                                                                             obligations between smaller railways (so-called ‘‘short line’’ rail-
                                                                             roads) and the owners of the larger interstate (or ‘‘trunk line’’) rail-
                                                                             ways off of which the short lines branch. Many of these contracts
                                                                             limit the short line railroads from doing meaningful business with
                                                                             any major rail carrier other than the one from which they leased
                                                                             or purchased their track.
                                                                                 The terms of these leases can be anticompetitive in their effect.
                                                                             The rent due on the track leases typically decreases markedly with
                                                                             increasing volumes of traffic sent to the trunk line. This has the
                                                                             effect of substantially lessening the competitive presence of other
                                                                             railways that connect to the short line, and effectively eliminating
                                                                             the competitive options available to shippers using the short line.
                                                                                 H.R. 1650 would subject paper barriers to the antitrust laws. In
                                                                             its 2004 letter to then-Chairman Sensenbrenner, DOJ stated that
                                                                             ‘‘[i]f paper barriers were subject to the antitrust laws, they would
                                                                             be evaluated under section 1 of the Sherman Act. The Department
                                                                             would examine whether the restraint is ancillary to the sale of the
                                                                               10 See Central Power & Light Co. v. Southern Pacific Transportation Co., 1 S.T.B. 1059 (1996),
                                                                             clarified at 2 S.T.B. 235 (1997), aff’d by the US Court of Appeals for the Eighth Circuit,
                                                                             MidAmerican Energy Co. v. STB, 169 F.3d 1099 (8th Cir. 1999). Note that the Eighth Circuit’s
                                                                             review was limited to determining whether there were compelling indications that the Board’s
                                                                             interpretations of the applicable statutes were not correct. 169 F.3d at 1106.
                                                                               11 Letter from Assistant Attorney General William Moschella to Hon. F. James Sensen-
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                                                                             brenner, Jr. (September 27, 2004).




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                                                                             trackage—i.e., whether the restraint is reasonably necessary to
                                                                             achieve the pro-competitive benefits of the sale.’’ 12
                                                                             Effectuating Recommendations of the Antitrust Modernization Com-
                                                                                  mission
                                                                                Removal of these antitrust immunities would follow the rec-
                                                                             ommendations of the Antitrust Modernization Commission estab-
                                                                             lished by Congress to assess and make recommendations regarding
                                                                             antitrust issues warranting attention. According to the Commis-
                                                                             sion, ‘‘[s]tatutory exemptions from the antitrust laws undermine,
                                                                             rather than upgrade, the competitiveness and efficiency of the U.S.
                                                                             economy’’ in that they ‘‘reduce the competitiveness of the industries
                                                                             that have sought antitrust exemptions.’’ 13 The railroad industry is
                                                                             precisely the type of industry envisioned by the Commission as
                                                                             benefiting from heightened competition following the removal of
                                                                             statutory antitrust exemptions.
                                                                                Passage of H.R. 1650 would open industry practices to scrutiny
                                                                             by the Agencies, which should result in more competitive rates for
                                                                             shippers and, ultimately, lower prices for end consumers. Private
                                                                             parties such as rail shippers who are harmed by anticompetitive
                                                                             rail carrier practices would be able to seek appropriate monetary
                                                                             remedies and injunctive relief. The Agencies would have authority
                                                                             to investigate rail carrier mergers and acquisitions and conduct
                                                                             and, where appropriate, bring enforcement actions to prevent or
                                                                             remedy anticompetitive results. In addition, State attorneys gen-
                                                                             eral will also be able to bring actions in Federal court in parens
                                                                             patriae challenging actions by railroad common carriers in violation
                                                                             of the Federal antitrust laws.
                                                                                The bill is carefully written to be prospective in its effect. Merg-
                                                                             ers that will have taken place prior to the bill’s enactment and
                                                                             were exempted from antitrust scrutiny under the current standards
                                                                             would remain exempt. Conduct that will have taken place before
                                                                             the bill’s enactment and was exempted would not become subject
                                                                             to retroactive antitrust enforcement. Mergers and acquisitions that
                                                                             take place after the bill’s enactment will be subject to the antitrust
                                                                             laws, as will conduct that takes place after the bill’s enactment.
                                                                             Under a special grace period, parties who continue to engage in
                                                                             conduct previously exempted by STB approval prior to the bill’s
                                                                             passage have 180 days to discontinue such conduct, after which
                                                                             any continuing conduct will becomes subject to the antitrust laws.
                                                                                                                          HEARINGS
                                                                                The Committee on the Judiciary Task Force on Antitrust and
                                                                             Competition Policy held a one-day hearing on February 25, 2008 on
                                                                             H.R. 1650. Testimony was received from Representative Tammy
                                                                             Baldwin (D-WI); Susan M. Diehl, Senior Vice President for Logis-
                                                                             tics and Supply Chain Management, Holcim, Inc.; Terry Huval, Di-
                                                                             rector of Utilities, Lafayette Utilities System (Lafayette, Louisiana)
                                                                             and Chairman, American Public Power Association; G. Paul
                                                                             Moates, Partner, Sidley Austin LLP on behalf of the Association of
                                                                             American Railroads; and Dr. Darren Bush, Associate Professor of
                                                                             Law, University of Houston Law Center (Houston, Texas).
                                                                                  12 Id.
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                                                                                  13 ANTITRUST MODERNIZATION COMMISSION, REPORT AND RECOMMENDATIONS, 335 (2007).




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                                                                                                            COMMITTEE CONSIDERATION
                                                                               On April 30, 2008, the Committee met in open session and or-
                                                                             dered the bill, H.R. 1650, favorably reported, as amended, by voice
                                                                             vote, a quorum being present.
                                                                                                                  COMMITTEE VOTES
                                                                               In compliance with clause 3(b) of rule XIII of the Rules of the
                                                                             House of Representatives, the Committee advises that there were
                                                                             no recorded votes during the Committee’s consideration of H.R.
                                                                             1650.
                                                                                                       COMMITTEE OVERSIGHT FINDINGS
                                                                                In compliance with clause 3(c)(1) of rule XIII of the Rules of the
                                                                             House of Representatives, the Committee advises that the findings
                                                                             and recommendations of the Committee, based on oversight activi-
                                                                             ties under clause 2(b)(1) of rule X of the Rules of the House of Rep-
                                                                             resentatives, are incorporated in the descriptive portions of this re-
                                                                             port.
                                                                                           NEW BUDGET AUTHORITY AND TAX EXPENDITURES
                                                                               Clause 3(c)(2) of rule XIII of the Rules of the House of Represent-
                                                                             atives is inapplicable because this legislation does not provide new
                                                                             budgetary authority or increased tax expenditures.
                                                                                               CONGRESSIONAL BUDGET OFFICE COST ESTIMATE
                                                                               In compliance with clause 3(c)(3) of rule XIII of the Rules of the
                                                                             House of Representatives, the Committee sets forth, with respect to
                                                                             the bill, H.R. 1650, the following estimate and comparison prepared
                                                                             by the Director of the Congressional Budget Office under section
                                                                             402 of the Congressional Budget Act of 1974:
                                                                                                                        U.S. CONGRESS,
                                                                                                           CONGRESSIONAL BUDGET OFFICE,
                                                                                                            Washington, DC, September 9, 2008.
                                                                             Hon. JOHN CONYERS, Jr., Chairman,
                                                                             Committee on the Judiciary,
                                                                             House of Representatives, Washington, DC.
                                                                               DEAR MR. CHAIRMAN: The Congressional Budget Office has pre-
                                                                             pared the enclosed cost estimate for H.R. 1650, the Railroad Anti-
                                                                             trust Enforcement Act of 2008.
                                                                               If you wish further details on this estimate, we will be pleased
                                                                             to provide them. The CBO staff contact is Leigh Angres, who can
                                                                             be reached at 226–2860.
                                                                                    Sincerely,
                                                                                                                          PETER R. ORSZAG,
                                                                                                                                 DIRECTOR.
                                                                             Enclosure
                                                                             cc: Honorable Lamar S. Smith.
                                                                                  Ranking Member
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                                                                             H.R. 1650—Railroad Antitrust Enforcement Act of 2008.
                                                                                H.R. 1650 would expand the authority of the Department of Jus-
                                                                             tice (DOJ) and the Federal Trade Commission (FTC) to prosecute,
                                                                             under the Sherman and Clayton Acts, certain antitrust violations
                                                                             relating to railroads. Currently, the Surface Transportation Board
                                                                             (STB) has the primary authority to regulate mergers, acquisitions,
                                                                             rate-setting, and pooling arrangements under the Interstate Com-
                                                                             merce Act. The roles of DOJ and FTC are generally limited to in-
                                                                             vestigating potential violations and providing advice to the STB.
                                                                                Based on information provided by DOJ, CBO estimates that im-
                                                                             plementing H.R. 1650 would have no significant effect on the fed-
                                                                             eral budget. We expect that DOJ would continue to perform inves-
                                                                             tigations of railroads, but that very few of those investigations
                                                                             would result in enforcement actions. (CBO also expects that DOJ,
                                                                             rather than FTC, would handle antitrust enforcement matters
                                                                             specified under the bill; thus, we do not anticipate that FTC would
                                                                             incur significant additional enforcement costs.) Anyone convicted of
                                                                             antitrust violations specified in the bill would be subject to criminal
                                                                             fines, which are recorded as revenues, deposited in the Crime Vic-
                                                                             tims Fund, and later spent. Thus, enacting H.R. 1650 could in-
                                                                             crease revenues and direct spending, but CBO estimates that any
                                                                             such effects would be insignificant given the small number of cases
                                                                             involved.
                                                                                H.R. 1650 contains no intergovernmental mandates as defined in
                                                                             the Unfunded Mandates Reform Act (UMRA) and would impose no
                                                                             costs on State, local, or tribal governments.
                                                                                H.R. 1650 would impose a private-sector mandate, as defined in
                                                                             UMRA, on railroads by eliminating exemptions from certain anti-
                                                                             trust laws. It is unclear how making railroads subject to provisions
                                                                             of those antitrust statutes would affect current business practices,
                                                                             if at all. The extent to which railroad carriers would have to forgo
                                                                             business opportunities and what the value of those lost opportuni-
                                                                             ties would be are also uncertain. Because of these uncertainties,
                                                                             CBO has no basis for estimating the cost to railroads and whether
                                                                             that cost would exceed the annual threshold established in UMRA
                                                                             for private-sector mandates ($136 million in 2008, adjusted annu-
                                                                             ally for inflation).
                                                                                On November 21, 2007, CBO transmitted a cost estimate for S.
                                                                             772, the Railroad Antitrust Enforcement Act of 2007, as ordered re-
                                                                             ported by the Senate Committee on the Judiciary on September 20,
                                                                             2007. S. 772 and H.R. 1650 are similar, and CBO’s estimates of
                                                                             costs are the same.
                                                                                The CBO staff contacts for this estimate are Leigh Angres (for
                                                                             federal costs), who can be reached at 226–2860, and Jacob Kuipers
                                                                             (for the private-sector impact), who can be reached at 226–2940.
                                                                             This estimate was approved by Theresa Gullo, Deputy Assistant
                                                                             Director for Budget Analysis.
                                                                                                   PERFORMANCE GOALS AND OBJECTIVES
                                                                               The Committee states that pursuant to clause 3(c)(4) of rule XIII
                                                                             of the Rules of the House of Representatives, H.R. 1650 will bring
                                                                             the pro-competitive benefits of the antitrust laws into the railroad
                                                                             industry by eliminating certain antitrust exemptions from current
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                                                                             law.




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                                                                                                   CONSTITUTIONAL AUTHORITY STATEMENT
                                                                                Pursuant to clause 3(d)(1) of rule XIII of the Rules of the House
                                                                             of Representatives, the Committee finds the authority for this legis-
                                                                             lation in article I, section 8, clause 3 of the Constitution.
                                                                                                               ADVISORY ON EARMARKS
                                                                               In accordance with clause 9 of rule XXI of the Rules of the House
                                                                             of Representatives, H.R. 1650 does not contain any congressional
                                                                             earmarks, limited tax benefits, or limited tariff benefits as defined
                                                                             in clause 9(d), 9(e), or 9(f) of Rule XXI.
                                                                                                           SECTION-BY-SECTION ANALYSIS
                                                                                The following discussion describes the bill as reported by the
                                                                             Committee.
                                                                                Section 1. Short Title. Section 1 sets forth the short title of the
                                                                             bill as the ‘‘Railroad Antitrust Enforcement Act of 2008.’’
                                                                                Section 2. Application of the Antitrust Laws to Rail Common Car-
                                                                             riers. This section amends the Clayton Act to overturn the filed
                                                                             rate doctrine, or Keogh Doctrine. This doctrine, created by the Su-
                                                                             preme Court during the era of pervasive regulation of the rail in-
                                                                             dustry, limits damages recoverable in a civil antitrust suit to the
                                                                             railroad’s filed rate.14 Section 2 of the bill will make standard dam-
                                                                             ages available regardless of whether the railroad has filed rates.
                                                                                Section 3. Mergers and Acquisitions of Railroads. This section
                                                                             modifies section 7 of the Clayton Act to empower the Agencies to
                                                                             enforce the Federal antitrust laws against certain STB-approved
                                                                             rail carrier rate agreements.
                                                                                Section 7 of the Clayton Act prohibits mergers and acquisitions
                                                                             that are likely to substantially lessen competition. The sixth undes-
                                                                             ignated paragraph of section 7 exempts ‘‘transactions duly con-
                                                                             summated pursuant to the authority’’ of specified agencies, includ-
                                                                             ing the STB. Section 3 of the bill removes that exemption as to
                                                                             STB-approved agreements described in 49 U.S.C. § 11321, which
                                                                             covers agreements among rail carriers ‘‘to pool or divide traffic or
                                                                             services or any part of their earnings’’ pursuant to 49 U.S.C.
                                                                             § 11322 as well as consolidations, mergers, and acquisitions of con-
                                                                             trol pursuant to 49 U.S.C. § 11323. Under this bill, these trans-
                                                                             actions will now be subject to review under the Federal antitrust
                                                                             laws even if approved by the STB.
                                                                                Section 4. Antitrust Enforcement Authority. This section amends
                                                                             the Clayton Act to authorize the FTC to enforce certain sections of
                                                                             the Clayton Act against railroad common carrier transactions de-
                                                                             scribed in 49 U.S.C. § 10706 (STB-approved agreements among two
                                                                             or more rail carriers relating to rates) and 49 U.S.C. § 11321 (STB-
                                                                             approved agreements or combinations).
                                                                                Section 11(a) of the Clayton Act extends enforcement authority
                                                                             for sections 2, 3, 7, and 8 of the Clayton Act to the STB with re-
                                                                             spect to common carriers subject to its jurisdiction, which removes
                                                                             those common carriers from the residual clause in section 11(a)
                                                                             that would otherwise give the FTC that authority. Section 4 of the
                                                                             bill carves out from the authority extended to the STB agreements
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                                                                                  14 Keogh v. Chicago & Northwestern Railway, 260 U.S. 152 (1922).




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                                                                             described in 49 U.S.C. § 10706 and 49 U.S.C. § 11321, thereby
                                                                             bringing those agreements within coverage of the residual clause.
                                                                                Other sections of the bill make agreements now covered by 49
                                                                             U.S.C. § 10706 and 49 U.S.C. § 11321 subject to antitrust enforce-
                                                                             ment, and the change to section 11(a) of the Clayton Act ensures
                                                                             that the antitrust enforcement authority is vested in the FTC as
                                                                             well as the DOJ.
                                                                                Section 5. Injunctions Against Railroad Common Carriers. This
                                                                             section modifies section 16 of the Clayton Act to remove the prohi-
                                                                             bition on private parties seeking injunctive relief against a railroad
                                                                             common carrier for a violation of the antitrust laws.
                                                                                Section 16 of the Clayton Act permits private parties threatened
                                                                             with loss or damage by a violation of the Federal antitrust laws to
                                                                             sue for injunctive relief. Under current law, section 16 exempts
                                                                             common carriers subject to the jurisdiction of the STB from suit for
                                                                             injunctive relief by anyone except the United States. Section 5 of
                                                                             the bill removes this carve-out with respect to railroads, situating
                                                                             the railroad industry identically to all other industries subject to
                                                                             section 16 of the Clayton Act.
                                                                                Section 6. Removal of Primary Jurisdiction as Limitation. This
                                                                             section adds a new section 29 to the Clayton Act, clarifying that
                                                                             in a civil antitrust action brought against a common carrier rail-
                                                                             road, either by a private party seeking treble damages or injunctive
                                                                             relief or by the United States or by a State attorney general, the
                                                                             Federal district court in which the case is brought need not defer
                                                                             to the jurisdiction of the STB on these or related issues. Specifi-
                                                                             cally, this section rejects the doctrine of primary jurisdiction, which
                                                                             suggests or requires Federal district courts to defer to regulatory
                                                                             bodies on the adjudication of certain issues that were considered to
                                                                             be within the special competence of an administrative body.
                                                                                Section 7. Unfair Methods of Competition. This section eliminates
                                                                             the carve-out in the FTC Act preventing enforcement of the FTC
                                                                             Act with respect to railroads.
                                                                                Section 5(a)(2) of the FTC Act prohibits the FTC from enforcing
                                                                             the FTC Act’s prohibition against ‘‘unfair methods of competition in
                                                                             or affecting commerce and unfair or deceptive acts or practices in
                                                                             or affecting commerce’’ in certain industries. Among the industries
                                                                             excluded by this section 5(a)(2) are ‘‘common carriers subject to the
                                                                             Act to regulate commerce.’’ Section 7 of the bill removes from this
                                                                             exclusion, with respect to unfair methods of competition, railroad
                                                                             common carriers subject to the STB’s jurisdiction under subtitle IV
                                                                             of 49 U.S.C., enabling antitrust scrutiny of the railroad industry by
                                                                             the FTC under the FTC Act. The scope of the FTC’s enforcement
                                                                             authority regarding unfair and deceptive acts or practices is not af-
                                                                             fected.
                                                                                Section 8. Termination of Exemptions in Title 49. This section
                                                                             eliminates antitrust exemptions currently in title 49 of the United
                                                                             States Code that apply to rail carriers. These include exemptions
                                                                             pertaining to STB-approved rate agreements in 49 U.S.C.
                                                                             § 10706(a)(2)(A); agreements that provide ‘‘solely for compilation,
                                                                             publication, and other distribution of rates in effect or to become
                                                                             effective’’ in 49 U.S.C. § 10706(a)(4); STB-approved discussions
                                                                             among shippers regarding compensation to be paid by rail carriers
                                                                             for the use of rolling stock owned or leased by the shippers in 49
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                                                                             U.S.C. § 10706(a)(5)(A); and mergers and acquisitions and agree-




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                                                                             ments referred to in 49 U.S.C. § 11321. In addition, section 8 of the
                                                                             bill eliminates a requirement for reporting to the FTC and DOJ,
                                                                             and substitutes provisions clarifying that the Federal antitrust
                                                                             laws apply to all proposed agreements described in 49 U.S.C.
                                                                             § 10706(a). Furthermore, section 8 specifies a reporting require-
                                                                             ment for the STB; that such report shall become a part of the ad-
                                                                             ministrative record of any lawsuit against the STB’s decision; that
                                                                             such report shall be made available to any other reviewing agency;
                                                                             and that such report shall be available in any judicial review of the
                                                                             Board’s decision regarding such agreement.
                                                                                Section 8(b) of the bill clarifies that the exemption for STB-ap-
                                                                             proved pooling agreements under 49 U.S.C. § 11322 is preserved.
                                                                                Section 9. Effective Date. This section establishes the bill’s effec-
                                                                             tive dates. The bill is prospective in effect, with a special grace pe-
                                                                             riod for continuing conduct.
                                                                                Pursuant to this section, mergers and acquisitions that will have
                                                                             taken place prior to the bill’s enactment and were exempted from
                                                                             antitrust scrutiny under the current standards would remain ex-
                                                                             empt. Conduct that will have taken place before the bill’s enact-
                                                                             ment and was exempted would not become subject to retroactive
                                                                             antitrust enforcement. Mergers and acquisitions that take place
                                                                             after the bill’s enactment will be subject to antitrust laws, as will
                                                                             conduct that takes place after the bill’s enactment. Under the spe-
                                                                             cial grace period, parties who are engaging in conduct previously-
                                                                             exempted by STB approval prior to the bill’s passage will have 180
                                                                             days to discontinue such conduct, after which such conduct will be-
                                                                             come subject to the antitrust laws to the extent it continues.
                                                                                   CHANGES IN EXISTING LAW MADE BY THE BILL, AS REPORTED
                                                                               In compliance with clause 3(e) of rule XIII of the Rules of the
                                                                             House of Representatives, changes in existing law made by the bill,
                                                                             as reported, are shown as follows (existing law proposed to be omit-
                                                                             ted is enclosed in black brackets, new matter is printed in italics,
                                                                             existing law in which no change is proposed is shown in roman):

                                                                                                                  CLAYTON ACT

                                                                                     *         *       *        *        *        *       *
                                                                                  SEC. 7. That no person engaged in commerce or in any activity
                                                                             affecting commerce shall acquire, directly or indirectly, the whole
                                                                             or any part of the stock or other share capital and no person sub-
                                                                             ject to the jurisdiction of the Federal Trade Commission shall ac-
                                                                             quire the whole or any part of the assets of another person engaged
                                                                             also in commerce or in any activity affecting commerce, where in
                                                                             any line of commerce or in any activity affecting commerce in any
                                                                             section of the country, the effect of such acquisition may be sub-
                                                                             stantially to lessen competition, or to tend to create a monopoly.
                                                                                     *       *       *       *        *       *        *
                                                                                  Nothing contained in this section shall apply to transactions
                                                                             duly consummated pursuant to authority given by the Secretary of
                                                                             Transportation, Federal Power Commission, Surface Transpor-
                                                                             tation Board (excluding transactions described in section 11321 of
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                                                                             title 49 of the United States Code), the Securities and Exchange




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                                                                             Commission in the exercise of its jurisdiction under section 10 of
                                                                             the Public Utility Holding Company Act of 1935, the United States
                                                                             Maritime Commission, or the Secretary of Agriculture under any
                                                                             statutory provision vesting such power in such Commission, Board,
                                                                             or Secretary.
                                                                                      *        *       *        *        *       *        *
                                                                                  SEC. 11. (a) That authority to enforce compliance with sections
                                                                             2, 3, 7, and 8 of this Act by the persons respectively subject thereto
                                                                             is hereby vested in the Surface Transportation Board where appli-
                                                                             cable to common carriers subject to jurisdiction under subtitle IV
                                                                             of title 49, United States Code (excluding agreements described in
                                                                             section 10706 of such title and transactions described in section
                                                                             11321 of such title); in the Federal Communications Commission
                                                                             where applicable to common carriers engaged in wire or radio com-
                                                                             munication or radio transmission of energy; in the Secretary of
                                                                             Transportation where applicable to air carriers and foreign air car-
                                                                             riers subject to the Federal Aviation Act of 1958; in the Federal Re-
                                                                             serve Board where applicable to banks, banking associations, and
                                                                             trust companies; and in the Federal Trade Commission where ap-
                                                                             plicable to all other character of commerce to be exercised as fol-
                                                                             lows:
                                                                                      *       *        *       *        *        *        *
                                                                                  SEC. 16. That any person, firm, corporation, or association
                                                                             shall be entitled to sue for and have injunctive relief, in any court
                                                                             of the United States having jurisdiction over the parties, against
                                                                             threatened loss or damage by a violation of the antitrust laws, in-
                                                                             cluding sections two, three, seven and eight of this Act, when and
                                                                             under the same conditions and principles as injunctive relief
                                                                             against threatened conduct that will cause loss or damage is grant-
                                                                             ed by courts of equity, under the rules governing such proceedings,
                                                                             and upon the execution of proper bond against damages for an in-
                                                                             junction improvidently granted and a showing that the danger of
                                                                             irreparable loss or damage is immediate, a preliminary injunction
                                                                             may issue: Provided, That nothing herein contained shall be con-
                                                                             strued to entitle any person, firm, corporation, or association, ex-
                                                                             cept the United States, to bring suit for injunctive relief against
                                                                             any common carrier subject to the jurisdiction of the Surface
                                                                             Transportation Board (excluding a common carrier by railroad)
                                                                             under subtitle IV of title 49, United States Code. In any action
                                                                             under this section in which the plaintiff substantially prevails, the
                                                                             court shall award the cost of suit, including a reasonable attorney’s
                                                                             fee, to such plaintiff.
                                                                                    *        *        *        *        *         *        *
                                                                                 SEC. 29. In any civil action against a common carrier railroad
                                                                             under section 4, 4A, 4C, 15, or 16, the district court shall not be re-
                                                                             quired to defer to the jurisdiction of the Surface Transportation
                                                                             Board.

                                                                                                 FEDERAL TRADE COMMISSION ACT

                                                                                       *         *       *                       *           *         *            *
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                                                                                    SEC. 5. (a)(1) * * *




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                                                                                  (2) The Commission is hereby empowered and directed to pre-
                                                                             vent persons, partnerships, or corporations, except banks, savings
                                                                             and loan institutions described in section 18(f)(3), Federal credit
                                                                             unions described in section 18(f)(4), common carriers subject to the
                                                                             Acts to regulate commerce, air carriers and foreign air carriers sub-
                                                                             ject to the Federal Aviation Act of 1958, and persons, partnerships,
                                                                             or corporations insofar as they are subject to the Packers and
                                                                             Stockyards Act, 1921, as amended, except as provided in section
                                                                             406(b) of said Act, from using unfair methods of competition in or
                                                                             affecting commerce and unfair or deceptive acts or practices in or
                                                                             affecting commerce. For purposes of this paragraph with respect to
                                                                             unfair methods of competition, the term ‘‘common carrier’’ excludes
                                                                             a common carrier by railroad that is subject to jurisdiction of the
                                                                             Surface Transportation Board under subtitle IV of title 49 of the
                                                                             United States Code.
                                                                                        *            *           *               *           *         *            *

                                                                                                   TITLE 49, UNITED STATES CODE

                                                                                        *            *           *               *           *         *            *

                                                                                  Subtitle IV—INTERSTATE TRANSPORTATION
                                                                                        *            *           *               *           *         *            *

                                                                                                                PART A—RAIL
                                                                                        *            *           *               *           *         *            *
                                                                                                            CHAPTER 107—RATES
                                                                             Sec.
                                                                             10701.         Standards for rates, classifications, through routes, rules, and practices.
                                                                                        *            *          *           *          *         *          *
                                                                             ø10706.         Rate agreements: exemption from antitrust laws.¿
                                                                             10706.         Rate agreements.
                                                                                        *            *           *               *           *         *            *
                                                                             § 10706. øRate agreements: exemption from antitrust laws¿
                                                                                        Rate agreements
                                                                                 (a)(1) In this subsection—
                                                                                      (A) * * *
                                                                                      *       *         *       *       *        *        *
                                                                                  (2)(A) A rail carrier providing transportation subject to the ju-
                                                                             risdiction of the Board under this part that is a party to an agree-
                                                                             ment of at least 2 rail carriers that relates to rates (including
                                                                             charges between rail carriers and compensation paid or received for
                                                                             the use of facilities and equipment), classifications, divisions, or
                                                                             rules related to them, or procedures for joint consideration, initi-
                                                                             ation, publication, or establishment of them, shall apply to the
                                                                             Board for approval of that agreement under this subsection. The
                                                                             Board shall approve the agreement only when it finds that the
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                                                                             making and carrying out of the agreement will further the trans-




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                                                                             portation policy of section 10101 of this title and may require com-
                                                                             pliance with conditions necessary to make the agreement further
                                                                             that policy as a condition of its approval. If the Board approves the
                                                                             agreement, it may be made and carried out under its terms and
                                                                             under the conditions required by the Boardø, and the Sherman Act
                                                                             (15 U.S.C. 1, et seq.), the Clayton Act (15 U.S.C. 12, et seq.), the
                                                                             Federal Trade Commission Act (15 U.S.C. 41, et seq.), sections 73
                                                                             and 74 of the Wilson Tariff Act (15 U.S.C. 8 and 9), and the Act
                                                                             of June 19, 1936 (15 U.S.C. 13, 13a, 13b, 21a) do not apply to par-
                                                                             ties and other persons with respect to making or carrying out the
                                                                             agreement¿. However, the Board may not approve or continue ap-
                                                                             proval of an agreement when the conditions required by it are not
                                                                             met or if it does not receive a verified statement under subpara-
                                                                             graph (B) of this paragraph.
                                                                                      *       *        *        *        *         *       *
                                                                                  (4) Notwithstanding any other provision of this subsection, one
                                                                             or more rail carriers may enter into an agreement, without obtain-
                                                                             ing prior Board approval, that provides solely for compilation, pub-
                                                                             lication, and other distribution of rates in effect or to become effec-
                                                                             tive. øThe Sherman Act (15 U.S.C. 1 et seq.), the Clayton Act (15
                                                                             U.S.C. 12 et seq.), the Federal Trade Commission Act (15 U.S.C.
                                                                             41 et seq.), sections 73 and 74 of the Wilson Tariff Act (15 U.S.C.
                                                                             8 and 9), and the Act of June 19, 1936 (15 U.S.C. 13, 13a, 13b, 21a)
                                                                             shall not apply to parties and other persons with respect to making
                                                                             or carrying out such agreement. However, the¿ The Board may,
                                                                             upon application or on its own initiative, investigate whether the
                                                                             parties to such an agreement have exceeded its scope, and upon a
                                                                             finding that they have, the Board may issue such orders as are
                                                                             necessary, including an order dissolving the agreement, to ensure
                                                                             that actions taken pursuant to the agreement are limited as pro-
                                                                             vided in this paragraph.
                                                                                  (5)(A) Whenever two or more shippers enter into an agreement
                                                                             to discuss among themselves that relates to the amount of com-
                                                                             pensation such shippers propose to be paid by rail carriers pro-
                                                                             viding transportation subject to the jurisdiction of the Board under
                                                                             this part, for use by such rail carriers of rolling stock owned or
                                                                             leased by such shippers, the shippers shall apply to the Board for
                                                                             approval of that agreement under this paragraph. The Board shall
                                                                             approve the agreement only when it finds that the making and car-
                                                                             rying out of the agreement will further the transportation policy
                                                                             set forth in section 10101 of this title and may require compliance
                                                                             with conditions necessary to make the agreement further that pol-
                                                                             icy as a condition of approval. If the Board approves the agree-
                                                                             ment, it may be made and carried out under its terms and under
                                                                             the terms required by the Boardø, and the antitrust laws set forth
                                                                             in paragraph (2) of this subsection do not apply to parties and
                                                                             other persons with respect to making or carrying out the agree-
                                                                             ment¿. The Board shall approve or disapprove an agreement under
                                                                             this paragraph within one year after the date application for ap-
                                                                             proval of such agreement is made.
                                                                                      *      *       *        *       *       *        *
                                                                                  (d) The Board may begin a proceeding under this section on its
                                                                             own initiative or on application. øAction of the Board under this
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                                                                             section—




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                                                                                       ø(1) approving an agreement;
                                                                                       ø(2) denying, ending, or changing approval;
                                                                                       ø(3) prescribing the conditions on which approval is grant-
                                                                                  ed; or
                                                                                       ø(4) changing those conditions,
                                                                             has effect only as related to application of the antitrust laws re-
                                                                             ferred to in subsection (a) of this section.
                                                                                  ø(e)(1) The Federal Trade Commission, in consultation with
                                                                             the Antitrust Division of the Department of Justice, shall prepare
                                                                             periodically an assessment of, and shall report to the Board on—
                                                                                       ø(A) possible anticompetitive features of—
                                                                                            ø(i) agreements approved or submitted for approval
                                                                                       under subsection (a) of this section; and
                                                                                            ø(ii) an organization operating under those agree-
                                                                                       ments; and
                                                                                       ø(B) possible ways to alleviate or end an anticompetitive
                                                                                  feature, effect, or aspect in a manner that will further the
                                                                                  goals of this part and of the transportation policy of section
                                                                                  10101 of this title.
                                                                                  ø(2) Reports received by the Board under this subsection shall
                                                                             be published and made available to the public under section 552(a)
                                                                             of title 5.¿
                                                                                  (e) Nothing in this section exempts a proposed agreement de-
                                                                             scribed in subsection (a) from the application of the antitrust laws
                                                                             (as defined in subsection (a) of the 1st section of the Clayton Act,
                                                                             but including section 5 of the Federal Trade Commission Act to the
                                                                             extent such section 5 applies to unfair methods of competition).
                                                                                  (f) In reviewing any proposed agreement described in subsection
                                                                             (a), the Board shall take into account, among any other consider-
                                                                             ations, the impact of the proposed agreement on shippers, con-
                                                                             sumers, and affected communities. The Board shall make findings
                                                                             regarding such impact, which shall be—
                                                                                       (1) made part of the administrative record;
                                                                                       (2) submitted to any other reviewing agency for consider-
                                                                                  ation in making its determination; and
                                                                                       (3) available in any judicial review of the Board’s decision
                                                                                  regarding such agreement.
                                                                                        *            *           *               *           *         *            *
                                                                                                          CHAPTER 113—FINANCE
                                                                                        *            *           *               *           *         *            *
                                                                                                   SUBCHAPTER II—COMBINATIONS
                                                                             § 11321. Scope of authority
                                                                                 (a) øThe authority¿ Except as provided in sections 4, 4A, 4C,
                                                                             15, and 16 of the Clayton Act, the authority of the Board under this
                                                                             subchapter is exclusive. A rail carrier or corporation participating
                                                                             in or resulting from a transaction approved by or exempted by the
                                                                             Board under this subchapter may carry out the transaction, own
                                                                             and operate property, and exercise control or franchises acquired
                                                                             through the transaction without the approval of a State authority.
                                                                             A rail carrier, corporation, or person participating in that approved
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                                                                             or exempted transaction øis exempt from the antitrust laws and




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                                                                             from all other law,¿ is exempt from all other law (except the laws
                                                                             referred to in subsection (c)), including State and municipal law, as
                                                                             necessary to let that rail carrier, corporation, or person carry out
                                                                             the transaction, hold, maintain, and operate property, and exercise
                                                                             control or franchises acquired through the transaction. However, if
                                                                             a purchase and sale, a lease, or a corporate consolidation or merger
                                                                             is involved in the transaction, the carrier or corporation may carry
                                                                             out the transaction only with the assent of a majority, or the num-
                                                                             ber required under applicable State law, of the votes of the holders
                                                                             of the capital stock of that corporation entitled to vote. The vote
                                                                             must occur at a regular meeting, or special meeting called for that
                                                                             purpose, of those stockholders and the notice of the meeting must
                                                                             indicate its purpose.
                                                                                     *        *        *        *        *        *       *
                                                                                 (c) Nothing in this subchapter exempts a transaction described
                                                                             in subsection (a) from the application of the antitrust laws (as de-
                                                                             fined in subsection (a) of the 1st section of the Clayton Act, but in-
                                                                             cluding section 5 of the Federal Trade Commission Act to the extent
                                                                             such section 5 applies to unfair methods of competition). The pre-
                                                                             ceding sentence shall not apply to any transaction relating to the
                                                                             pooling of railroad cars approved by the Surface Transportation
                                                                             Board or its predecessor agency pursuant to section 11322.
                                                                                 (d) In reviewing any transaction described in subsection (a), the
                                                                             Board shall take into account, among any other considerations, the
                                                                             impact of the transaction on shippers and affected communities.
                                                                                        *            *           *               *           *         *            *

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